Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 1 of 6
Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 2 of 6
Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 3 of 6
Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 4 of 6
Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 5 of 6
Case 5:07-cr-04084-DEO-LTS   Document 126   Filed 10/17/08   Page 6 of 6
